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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                   )        CHAPTER 7
                                         )
DORA MARIE HENDRIX,                      )        CASE NO. 16 – 53217 – PMB
                                         )
                                         )
              DEBTOR.                    )


                                  MOTION TO REOPEN


       COMES NOW Nancy J. Gargula, United States Trustee for Region 21, and,

pursuant to Bankruptcy Code section 350(b) and Federal Rule of Bankruptcy Procedure

5010, moves the Court to reopen this case. In support of this motion, the United States

Trustee shows as follows.

                                             1.

       Dora Marie Hendrix commenced this case on February 22, 2016, by filing a

petition for relief under chapter 7.

                                             2.

       Dale R. F. Goodman was appointed and served as chapter 7 trustee.

                                             3.

       On March 30, 2016, Ms. Goodman filed a report of no distribution based on

information known to her at that time.

                                             4.

       On July 7, 2016, the Court granted a discharge to Dora Marie Hendrix and closed
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the estate.

                                               5.

       The United States Trustee has recently been notified that Dora Marie Hendrix is

entitled to a personal injury award in connection with a product liability claim. The

United States Trustee believes the award would be property of the estate and that

administration of the asset would result in a meaningful distribution to unsecured

creditors.

                                               6.

       Bankruptcy Code section 350 authorizes the Court to reopen a case to administer

assets, to accord relief to the debtor, or for other cause.

                                               7.

       Federal Rule of Bankruptcy Procedure 5010 provides that a case may be reopened

on motion of the debtor or other party in interest. The United States Trustee is a party in

interest and has standing to raise, appear, and be heard on any issue in any case. 11

U.S.C. § 307.

                                               8.

       The United States Trustee requests the Court reopen the case and direct the United

State Trustee to appoint a trustee who can investigate and, if appropriate, administer

assets that are property of the estate.

                                               9.

        Pursuant to the Bankruptcy Court Miscellaneous Fee Schedule, effective

September 1, 2018, the United States Trustee should not be charged with the fee for
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reopening this case.

       WHEREFORE, the United States Trustee moves the Court reopen this case and

direct the United States Trustee to appoint a chapter 7 trustee.

                                                  NANCY J. GARGULA
                                                  United States Trustee, Region 21

                                                  s/ David S. Weidenbaum
                                                  David S. Weidenbaum
                                                  Georgia Bar No. 745892
                                                  United States Department of Justice
                                                  Office of the United States Trustee
                                                  362 Richard Russell Building
                                                  75 Ted Turner Drive, S.W.
                                                  Atlanta, GA 30303
                                                  (202) 329-2428
                                                  David.S.Weidenbaum@usdoj.gov

                              CERTIFICATE OF SERVICE

      I certify that January 11, 2021, I served a copy of this motion upon the following
persons by First Class U.S. Mail, addressed as follows.

E.L. Clark
Clark & Washington, L.L.C.
3300 Northeast Expressway
Building 3
Atlanta, GA 30341

Dora Marie Hendrix
45 Whispering Pine Drive
Covington, GA 30016



                                                  David S. Weidenbaum
                                                  David S. Weidenbaum
